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 1                        IN THE UNITED STATES DISTRICT COURT

 2                               FOR THE DISTRICT OF NEW MEXICO

 3       UNITED STATES OF AMERICA,

 4                                   Plaintiff,

 5               vs.                      NO:     1:14-CR-03609-JB

 6       BENTLEY A. STREETT,

 7                                   Defendant.

 8

 9               Transcript of Motion Hearing before The

10       Honorable James O. Browning, United States District

11       Judge, Albuquerque, Bernalillo County, New Mexico,

12       commencing on December 28, 2017.

13       For the Plaintiff:               Ms. Sarah Jane Mease

14       For the Defendant:               Mr. Martin Lopez III

15

16       Also present:               Mr. Bob Cooper

17

18

19

20

21

22                 Mary Abernathy Seal, RDR, CRR, NM CCR 69
                             Bean & Associates, Inc.
23                     Professional Court Reporting Service
     l               201 Third Street, Northwest, Suite 1630
24                        Albuquerque, New Mexico 87102

25
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 1                          THE COURT:    Please be seated.     Good

 2     morning, everyone.

 3                          MS. MEASE:    Good morning.

 4                          THE COURT:    I appreciate everyone making

 5     themselves available to me this morning.                  All right,

 6     the Court will call United States of America versus

 7     Bentley A. Streett, criminal matter number

 8     14-CR-3609-JB.             If counsel will enter their

 9     appearances.              For the Government.

10                          MS. MEASE:    Good morning, Sarah Mease on

11     behalf of the United States.

12                          THE COURT:    Ms. Mease, good morning to

13     you.

14                          And for the Defendant?

15                          MR. LOPEZ:    Yes, good morning, Martin

16     Lopez, III, representing Mr. Streett.                  For the

17     record, he's personally present as well.

18                          THE COURT:    All right, Mr. Lopez, good

19     morning to you.              Mr. Streett, good morning to you.

20                          And Mr. Cooper is here as well.

21                          MR. COOPER:    Yes, Your Honor.     Good

22     morning.

23                          THE COURT:    Good morning, Mr. Cooper.

24 l Thank you for coming.                 Does anybody else want to

25     enter any appearance?               Who is that behind Mr. Cooper

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 1     there?

 2                          MRS. STREETT:    Mrs. Streett.

 3                          THE COURT:    All right.    So you're the

 4     mother of Mr. Streett?               Okay.   All right.   Well,

 5     welcome to you as well.

 6                          Well, I got a number of filings here over

 7     the last few days, and I guess I was beginning to be

 8     concerned about some of the statements made in them,

 9     some tensions and inconsistencies between the

10     positions that are being sought.

11                          I'm concerned about Mr. Streett.      He's

12     obviously an intelligent person, but if I take what

13     he says at his word, he doesn't want to be pro se,

14     which I think is a good thing, because I don't think

15     that this is -- well, I can't think of a criminal

16     case that would be a good idea to be pro se, but

17     this one seems to have a lot of complexities to it,

18     and that's the reason we declared the case complex.

19     But at the same time, I was reading some things that

20     indicated he wanted to go to trial on Monday, and

21     then I got a withdrawal from Mr. Lopez; I just lost

22     Mr. Cooper.               And so it seemed to me we might be

23     getting into a train wreck here, and I don't think

24 l that's a good idea for anybody.                   So I thought we'd

25     get together and sort of see what needs to be done.

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 1                          Let me start with maybe a little bit

 2     ancient history, but just make sure we're all on the

 3     same page.                I think I got a letter from

 4     Mr. Streett's mother, I think I got a filing from

 5     Mr. Streett, and it was my understanding that

 6     Mr. Cooper wanted out of the case, and Mr. Streett

 7     and his mother wanted Mr. Cooper out of the case.

 8                          I'll turn to you first, Mr. Streett.        Was

 9     that the case?               You wanted Mr. Cooper out of your

10     case?

11                          THE DEFENDANT:     Yes, sir.

12                          THE COURT:     And your mother did too?     That

13     was what the intent of that letter is?                  All right.

14                          Now, I'm looking at a rather large

15     document, several large documents that Mr. Cooper

16     filed on your behalf that we haven't heard yet.                     I

17     have read some of them, and some of them raise some

18     constitutional issues and things like that.                  I would

19     assume that even though you don't want Mr. Cooper on

20     the case anymore, you do want the Court to hear

21     those motions.

22                          THE DEFENDANT:     Yes, sir.

23                          THE COURT:     Those are motions that I'm

24 l assuming he talked to you about.

25                          THE DEFENDANT:     I knew nothing about them

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 1     before they were filed.

 2                          THE COURT:    Before they were filed.     But

 3     you have seen them now.               And you want them to be

 4     heard and everything?

 5                          THE DEFENDANT:    Yes, sir.

 6                          THE COURT:    Okay.   All right.   So I guess

 7     let me get -- I know there's certain things that

 8     Mr. Lopez doesn't want you to say in front of the

 9     US, and I don't want to get you in that position

10     either.            So whatever Mr. Lopez tells you, you

11     probably ought to do.               Not probably.   You ought to

12     do.

13                          But let me ask a few questions, and

14     Mr. Lopez, feel free to shut me down, but a few

15     things I think we can probably talk about in front

16     of the Government, and then we may need to see if

17     the Government will excuse itself so that we can

18     talk about representation.

19                          But it's the trial date that's sort of

20     troubling me.              When we got the original motion that

21     looked like everybody was on board, we took it off

22     the docket.               I know there's not one set.    It's not

23     reset, but we did take that off the docket.                  And

24 l when I looked at all the motions that we have to

25     hear, I did bring my information or my sort of

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 1     packet for a pretrial conference if people really

 2     want to go to trial on Monday, but -- let's see.

 3     That would be Tuesday, I guess.              But I'm wondering

 4     if that's a good idea, given the amount of motions

 5     that need to be heard, and then I need to decide

 6     them.         And also there may be a representation issue.

 7     And then we haven't had a pretrial conference.                 And

 8     right now I don't have a jury yet assembled, because

 9     we had cancelled that, given that we thought we had

10     an agreement.

11                          So I'll ask you, Mr. Lopez, and you,

12     Mr. Streett, A, I assume, Mr. Streett -- let me get

13     this straight -- you don't want to go to trial pro

14     se; is that correct?

15                          THE DEFENDANT:   That's correct.   Yes.

16                          THE COURT:   So you want an attorney.

17                          THE DEFENDANT:   Yes, sir.

18                          THE COURT:   And I guess you probably

19     thought about it that given that Mr. Cooper is now

20     off the case and Mr. Lopez is on it, given the

21     volume of documents and things like that, there's no

22     way that Mr. Lopez or probably any other attorney

23     can get to trial on Tuesday of next week.

24 l                        THE DEFENDANT:   Yes, sir.

25                          THE COURT:   So are you comfortable taking

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 1     the trial off for Monday?

 2                          THE DEFENDANT:   Yes, sir.

 3                          THE COURT:   Okay.   Did I misread something

 4     that indicated that you disagreed with -- I think it

 5     was Mr. Cooper's motion of taking it off?                  Did I

 6     misread something?

 7                          THE DEFENDANT:   Not as to the trial date.

 8     I didn't have any problem with vacation of the date.

 9     Just the deadlines that were pending and coming up

10     that needed to be finished by the Government.                  Those

11     were my concerns, that those deadlines were met.

12                          THE COURT:   Okay.   Can you help me out?         I

13     did go back, in preparation for today, and reread

14     the scheduling order so I would get those in mind.

15     And let me pull it out.               But can you tell me what --

16     so you didn't have any problem with the trial being

17     vacated, but you did have a problem with certain

18     deadlines by the Government being vacated; is that

19     your position?

20                          THE DEFENDANT:   Yes, sir.

21                          THE COURT:   Okay.   Let me get the

22     deadlines here.             All right.    So I had a scheduling

23     order number 4, and then I have the United States'

24 l omnibus motion to stay deadlines which, I guess,

25     based upon that, that is what -- now, that was never

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 1     entered, the order there; right?

 2                          MR. LOPEZ:     Correct.

 3                          THE COURT:     Ms. Behning?

 4                          MS. BEHNING:     Yes, Judge.

 5                          THE COURT:     So that's where the dispute

 6     is.       All right.        So let me look, then, at the

 7     scheduling order.

 8                          MR. LOPEZ:     Your Honor, it's document 72.

 9                          THE COURT:     Right.     So it looks to me --

10     let me turn then to Ms. Mease.

11                          Up through December 1st, which is the

12     substantive motions deadline, Daubert motions, has

13     the Government met all its obligations up through

14     December 7th when the omnibus motion was filed?

15                          MS. MEASE:     Yes, the Government filed an

16     expert notice on whatever day that was due.                   And

17     then the only other pending deadline that the

18     Government had was the response to the pretrial

19     motion.

20                          THE COURT:     Okay.

21                          MS. MEASE:     And that's the subject of my

22     motion to stay deadlines, and I can speak on that if

23     the Court would like to hear the reasoning behind

24 l that.

25                          THE COURT:     So that's the only deadline

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 1     that we're really talking about.

 2                          MS. MEASE:   Yes.     And then I would have to

 3     look at the scheduling order.                 I don't know if

 4     anything has come up since that December 15th date.

 5                          THE COURT:   Okay.

 6                          So are we on the same wavelength,

 7     Mr. Streett, that the only deadline you're opposing

 8     vacating -- since you agree that the trial should be

 9     vacated, the only one you're concerned about is this

10     December 15th deadline?

11                          THE DEFENDANT:      That's correct.   I think I

12     indicated in one of my letters that from item 7

13     through 15, I deferred to the Court's decision on

14     that.

15                          THE COURT:   Okay.     Well, what if we did

16     this?         Let me ask you this.          What is your concern

17     about giving the Government a little bit more time

18     to prepare the responses?                 What is your concern

19     about that?

20                          THE DEFENDANT:      The fact that it's been

21     over three years and these deadlines were

22     established almost nine months ago for this, and my

23     counsel at the time did meet our deadlines, and I

24 l don't believe that the Government has any reason

25     that they should have any more time from the time

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 1     they have already had.

 2                          THE COURT:   Okay.   Now, they're not

 3     wanting to file any more motions; correct?

 4                          MS. MEASE:   Correct.

 5                          THE COURT:   So it's just responses to your

 6     motion.

 7                          MR. LOPEZ:   Two motions.

 8                          THE COURT:   Two motions.

 9                          MR. LOPEZ:   Two substantive motions.

10                          THE COURT:   Okay.

11                          MS. MEASE:   Your Honor, if I can speak on

12     that, it might help Mr. Streett understand the

13     reasoning behind that.              And I'm not attempting to

14     get into the substance of plea negotiations, but

15     generally I can tell the Court that the plea offer

16     did expire; and oftentimes in the plea negotiation

17     process, the deal, the offer is made contingent on

18     filing a response to pretrial motions.               So our offer

19     deadline passed and we were moving forward.

20                          Once I learned that Mr. Cooper was

21     withdrawing and there would be new counsel, I

22     typically -- and intended to in this case -- wanted

23     to give the benefit of the plea offer to new

24 l counsel, so I was intending to let Mr. Lopez review

25     the discovery in order to evaluate the same offer

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 1     that was made to Mr. Streett and that they could

 2     discuss that and get back to me and we would come up

 3     with a time frame for that.              Once I file responses,

 4     that's done.              We're not going to be having pretrial

 5     negotiations anymore, and I wanted to extend that

 6     courtesy to Mr. Lopez to be able to at least

 7     evaluate the previous offer that had been extended.

 8                          And the second reason was that when I

 9     filed that motion, Mr. Lopez had not yet been

10     appointed, I don't believe, and I don't know if he

11     wants those motions filed.              I don't know if he would

12     have different arguments he wanted to make.                 I don't

13     know -- I don't know what's happening.              So it

14     seemed, just in terms of efficiency, sort of a waste

15     of time to respond to that if Mr. Lopez is going to

16     come in and want to file different motions to begin

17     with.

18                          But if Mr. Streett does not want to

19     evaluate that offer with his new counsel, I'm fine

20     just moving forward.              And I can, you know, come up

21     with a reasonable deadline with the Court, assuming

22     there would be no new motions, substantive motions,

23     and we'll just move forward.              I just was trying to

24 l offer him the ability to review the offer with his

25     new lawyer.

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 1                          THE COURT:     All right.   So if I hear what

 2     you're saying -- and correct me if I'm wrong --

 3     you're okay with allowing him with new counsel to

 4     relook at the case and maybe even extend that

 5     December 1 deadline to allow him to file further

 6     motions.

 7                          MS. MEASE:     I thought that we would come

 8     up with a mutually agreeable new scheduling order,

 9     was my sort of goal in filing the motion to stay

10     deadlines.                I assumed that the trial would have to

11     be continued because nobody can get through that

12     amount of discovery and prepare that quickly, and I

13     figured that we would come up with a new scheduling

14     order, a new deadline for the Government -- or new

15     pretrial deadline for Mr. Lopez, a new response

16     deadline for the Government, and go forward from

17     there with the understanding that it would be --

18     this case is old, it needs to be disposed of, you

19     know, pretty quickly, and so I was hoping that we

20     could, you know, come up with a pretty reasonable

21     time frame that worked with the Court's schedule as

22     well as both parties.

23                          THE COURT:     Let me ask you this.   Would

24 l the Government be willing to do this?                   Would it be

25     willing to allow Mr. Streett with new counsel to

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 1     file any additional motions that he wants to file so

 2     we create a new deadline for him to do that and then

 3     sort of a quid pro quo, then we could set up a

 4     deadline for you to file responses to the current

 5     motions and any new motions that his new attorney

 6     wants to file?

 7                          MS. MEASE:   I would be fine with that,

 8     assuming Mr. Lopez stays on the case.

 9                          THE COURT:   Okay.   Mr. Streett, do you

10     understand what I'm sort of proposing, is that we

11     give you the opportunity -- the Government's not

12     going to file any motions, but we extend your

13     December 1 deadline for you to file additional

14     motions in conjunction with new counsel.               We'll talk

15     about that in a moment.               And then we'll set a

16     deadline for the Government to respond to all those

17     motions at a particular time.               Is that something

18     that would be of interest to you?

19                          THE DEFENDANT:   Well, my concern was that

20     the motions were filed, had a deadline to be

21     responded to, and they weren't responded to.                 There

22     was nothing that should have caused the Government

23     any harm, caused them not to be able to respond in a

24 l timely manner.               And I understand what the Government

25     is suggesting now, but the Government came to the

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 1     Court and asked for more time.                  The Court did not

 2     give them more time.               I would have thought they

 3     would still honor the deadlines that they had set

 4     forth already and not use my counsel's situation as

 5     an excuse to get more time.

 6                          THE COURT:    Well, it's actually my

 7     suggestion.               Ms. Mease didn't suggest it.     She's

 8     saying she's okay with it.               But I know that there

 9     may be reasons for people to have done what they did

10     in the past.              I'm just trying to look for a way to

11     move forward, because we're past the deadline here,

12     and we got to set some new deadlines.                  That would

13     give you an opportunity to work with your new

14     counsel to see if you wanted to file motions, and

15     then we just set a date by which any responses have

16     to be filed, either the new motions or the old

17     motions.             Could you live with that?

18                          THE DEFENDANT:    I would rather not do

19     that, sir.

20                          THE COURT:    All right.     All right.

21                          THE DEFENDANT:    I want the Court to be

22     able to grant the motions as unopposed since the

23     Government didn't respond in time.

24 l                        THE COURT:    Well, I'm probably not going

25     to do that.               These are very serious motions, and so

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 1     probably I'm going to get the input of the

 2     Government, one way or another.                 And we'll probably

 3     have a hearing on it.

 4                          So let's do this.     Let's go ahead and set

 5     a date.            And let me ask you -- I'll start with you,

 6     Mr. Streett -- since we're extending the December 1

 7     deadline to allow you to file additional motions

 8     with your new counsel, what would you think would be

 9     reasonable on that?

10                          MS. MEASE:   Your Honor, let me just let

11     the Court know that -- once they're done --

12                          MR. LOPEZ:   May I respond --

13                          THE COURT:   You may.

14                          MR. LOPEZ:   -- on behalf of Mr. Streett?

15                          THE COURT:   Sure.

16                          MR. LOPEZ:   Mr. Streett's concern

17     throughout my limited time of being his attorney is

18     the Government's failure to comply with the

19     scheduling order deadline.                More importantly, he is

20     aware that the local rule here allows for a 14-day

21     turnaround as well, in which the opposing party is

22     to file a response.               He is opposed to the Court on

23     its own, sua sponte, extending deadlines.                 However,

24 l he is aware that the Court has discretion to do what

25     the Court is going to do.                 He would prefer to have

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 1     the Court rule on the two outstanding motions at

 2     this time because the Government has failed to

 3     comply with either the scheduling order or the local

 4     rule.         However, he understands that if the Court

 5     decides to sua sponte extend time limits, what's

 6     going to have to happen here is -- I have been

 7     advised that there is at least 5,000 pages of

 8     discovery that either has been produced or will be

 9     produced to my office, and I have to look at those

10     5,000 pieces of paper before I can advise him as to

11     whether any additional motions may need to be filed.

12                          He does not want to withdraw the motions

13     that Mr. Cooper has presented.              I think they go to

14     the heart of the case.             However, he does not want to

15     be limited, if the Court comes up with another

16     scheduling order, to those two motions until I have

17     an opportunity to review them and speak with him

18     about it.

19                          Excuse me.   One other point, Judge.   As an

20     aside, Ms. Mease and myself have been discussing a

21     way to get discovery to Mr. Streett in spite of the

22     protective order.             I think that was one of the

23     impediments in this case.              Basically what has

24 l happened here, if I'm not mistaken, just from

25     reading the docket and the pleadings, Mr. Cooper

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 1     here had pretty much been hamstrung in terms of what

 2     we can do.                You know, he can only present the

 3     discovery at visits at the jail to Mr. Streett for

 4     him to review there.                He cannot take the discovery

 5     back to his cell and review them in more detail.

 6     And that's been a big problem in this case.

 7                          And Ms. Mease has come up with a suggested

 8     solution to that, and that is to go through the

 9     discovery and redact certain things which she

10     believes to be -- and correct me if I'm wrong -- but

11     redact certain information there.                 And I think that

12     that is a positive step and a good solution to

13     Mr. Streett's concern.

14                          There were some issues relative to his

15     relationship to Mr. Cooper.                 I have not talked to

16     him about the extent of it.                 I'm just going to kind

17     of segue into because this indirectly relates to the

18     deadlines that were contained within scheduling

19     order number 4, but that was the impetus for me

20     filing a motion to withdraw as well, because what I

21     did not want to have happen here is, I did not, A,

22     want to have Mr. Streett pursue a trial strategy

23     with being 14 days into a case of such a magnitude.

24 l That's the first issue.                  And I think we may have

25     resolved that issue.                Okay?

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 1                          The second approach is that Mr. Streett

 2     and I have had brief conversations.                I have told him

 3     at the outset of my appointment, as I do in cases of

 4     this nature where I come in and I'm lawyer number 2,

 5     I'm lawyer number 5, what I need to do is, I need to

 6     review the discovery before I make my initial

 7     meeting with my client, only to protect his

 8     interests.                I don't like going in and sitting down

 9     and doing a meet-and-greet, as I call them,

10     initially when it is not substantive in nature.                     And

11     I think Mr. Streett appreciates that at this point.

12                          So in answer -- I'm giving you a

13     long-winded answer here.                But in answer to the

14     Court's question, Mr. Streett would prefer to have

15     the Court rule on the two substantive motions.                   His

16     position is that the deadlines have been in place

17     for a period of time, the responses were not filed;

18     I advised him that the Court, in its discretion, can

19     take input and grant an extension of time in which

20     to file responses.                As long as we got off the

21     January 2nd, 2018, trial setting, that gives me

22     relief and that gives Mr. Streett an opportunity to

23     start again with me and hopefully we can come to

24 l some solution.

25                          The final point is that I appreciate the

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 1     Government's position.                It makes a heck of a lot of

 2     sense that if, in fact, the parties are negotiating

 3     a plea agreement, a resolution in that manner, that

 4     they should focus on doing exactly that, negotiating

 5     terms, as opposed to trying to develop responses to

 6     substantive motions.               From what I understand from

 7     Mr. Streett, his position, at this point, anyway, is

 8     that he is not interested in a plea offer.                He's

 9     interested in proceeding to trial.                That may change.

10     But at this point, that's his position.

11                          THE COURT:    Well, let's make this real

12     simple.            I can set a deadline for the Government to

13     file a response.

14                          THE DEFENDANT:    Yes.

15                          THE COURT:    And then I can set a hearing.

16     So we can get a ruling.               You know, I have looked at

17     the two motions enough to know that they may take me

18     a little bit of time to get a ruling on them,

19     because there's some substantive issues there.                   And

20     I think you can appreciate and Mr. Cooper can

21     appreciate and maybe Mr. Streett can also appreciate

22     I'm probably not going to declare a congressional

23     act unconstitutional without getting input from the

24 l Government.                 And I'm not going to suppress evidence

25     without getting input from the Government.                So we

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 1     are where we are.

 2                          But if I also understand what Ms. Mease is

 3     saying, if she picks up the pen to prepare a

 4     response, prepare for a hearing, all negotiations

 5     are off.

 6                          So it's really your call.      If you want the

 7     Government to prepare a response and me set a

 8     hearing date, I can do that.                 But Mr. Streett

 9     probably needs to understand that when that occurs,

10     what I understand is the Government's not going to

11     talk to him anymore about a plea deal, and I can't

12     be involved in that in any way.                 That would be

13     inappropriate, unethical for me to be involved.                      So

14     I don't have any interest in that at all.                 I simply

15     want to do what you all want to do.                 But just as

16     long as Mr. Streett understands when he's requesting

17     a ruling on that, it may have some consequences, and

18     just as long as he understands.

19                          MR. LOPEZ:      My position, Judge, is

20     frankly, that I would strongly recommend to

21     Mr. Streett to reconsider his position, but this is

22     his case.                 I normally don't allow clients to make

23     these kinds of decisions, because it could be fatal.

24 l If the Court is aware -- and the Court is probably

25     aware -- there's a lot of downside in this case.

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 1     There's a lot of downside in this case.                 And I would

 2     hope that I would have an opportunity of meeting

 3     with Mr. Streett after I have had a chance to look

 4     at the discovery, so I can make an informed decision

 5     and evaluation of the case before he comes before

 6     the Court and says, "Hey, you know what?                 No plea.

 7     Let's go ahead and get the responses."                 That would

 8     be my approach.

 9                          Now, I don't know if the Court is going to

10     hold him to an answer today.                 If the Court is going

11     to hold him to an answer today, I will go with

12     whatever he decides.              If he decides to take the

13     chance of there's no more plea negotiations, we're

14     just going to head to trial, that's going to be on

15     him.        That's not going to be on the Court; that's

16     not going to be on anybody else.

17                          THE COURT:   Well, maybe you all need to

18     talk.         And it's really your call.          I did have a

19     concern about this January 2nd trial date, because I

20     was getting letters that he --

21                          MR. LOPEZ:   Correct.

22                          THE COURT:   -- didn't want to proceed pro

23     se, which made perfect sense to me.                 But then I had

24 l a motion to withdraw and I figured we better get

25     together and figure out what we're doing on Tuesday

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 1     of next week.             I think we have got that resolved.

 2     But I thinks it's you all's call.                 If you all want

 3     to leave here today and we just not set anything

 4     immediately, then that's fine.                 If you are ready to

 5     tell me, then I'll work with you to try to get some

 6     deadlines set.             But I don't have a burning desire to

 7     rush anybody on this thing.

 8                          MR. LOPEZ:   Judge, I don't mean to sound

 9     flip, but can we get back to you?                 In other words,

10     what I'd like to do is, I'd like to spend some time

11     with Mr. Streett.             I pretty much have given him the

12     caveat that I'm willing to sit down and talk to him

13     about this in more detail, but I'm limited in terms

14     of the information that I have.                And I want to be

15     fair to the Government because I don't want to go

16     down that road of let's set up new deadlines and

17     then have him and I come to her at a later date and

18     say, "Hey, can we negotiate something."

19                          THE COURT:   Are you comfortable with that,

20     Mr. Streett?

21                          THE DEFENDANT:   I think so, yes, sir.

22                          THE COURT:   All right.     Well, why don't we

23     just leave it there.              I will vacate -- let's look at

24 l this motion that was submitted.                  Are you comfortable

25     with this, Ms. Mease?

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 1                          MS. MEASE:   Yes, Your Honor.   I just

 2     wanted to say something just to clarify what

 3     Mr. Lopez said earlier about the discovery.                The

 4     protective order was previously entered, and I

 5     believe it was entered for good cause.               I'm

 6     attempting to, working with Mr. Lopez, find portions

 7     of the discovery that Mr. Streett might specifically

 8     want to keep in his cell and redact those further so

 9     he can keep them.             It's not going to be a wholesale

10     production for Mr. Streett to keep everything.                   I

11     just think that that's kind of untenable and

12     inappropriate, given the nature of the case, but I

13     can certainly try to work with Mr. Lopez to find

14     portions of that discovery that would allow

15     Mr. Streett more time, because I know from talking

16     to Mr. Cooper and talking with Mr. Lopez and reading

17     Mr. Streett's correspondence that that has been a

18     huge burden, and that wasn't the intent.               The intent

19     was to protect the victim's privacy in this case and

20     sort of the integrity of the case as the case moved

21     forward.             But now, understanding from Mr. Cooper and

22     Mr. Streett what a huge burden that is, I would like

23     to try to get some material to Mr. Streett to keep,

24 l you know, in the interests of trying to move this

25     forward.

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 1                          So I just didn't want Mr. Streett to have

 2     the impression that he was going to get everything.

 3     It's going to be limited, but I'm going to try to

 4     work with him to that end.

 5                          THE COURT:     All right.   So I have the

 6     order granting the United States' motion to stay

 7     deadlines.                It seems to me that it's appropriate.        I

 8     know that Mr. Streett doesn't agree with it, but I'm

 9     going to stay the December 15th deadline, but he's

10     in control of it.                He and Mr. Lopez are in control

11     of it.          So the minute they say, "We don't want the

12     stay," then I'll set a deadline for the Government

13     to respond and then I'll set a hearing.                 So that

14     will get things moving so you're sort of in control

15     of that.             So I'll note Mr. Streett's opposition.

16                          MR. LOPEZ:     Thank you.

17                          THE COURT:     But I'll also grant the

18     motion, but I'll also indicate that basically

19     Mr. Streett and Mr. Lopez are in control of that, so

20     the minute they don't want the stay to be in effect,

21     I'll lift the stay and set some deadline for the

22     Government to respond; I'll set a hearing.

23                          In the third paragraph, "It's further

24 l ordered the deadlines detailed in scheduling number

25     4 are stayed until further order of the court."

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 1                          I'm inclined to strike that, because --

 2     we'll just leave all the others, because they're

 3     teed off the trial deadline and the other ones that

 4     have already passed, we won't resurrect those.                    So

 5     is everybody comfortable with that?

 6                          THE DEFENDANT:   Yes.

 7                          THE COURT:   So I'll take that out.     And

 8     then it says, "The Court notes the Defendant was

 9     appointed new counsel on December 13, 2017.                 The

10     parties shall submit any motions to continue the

11     current trial date as soon as possible, but no later

12     than December 29, 2017."

13                          Do I have in this material that motion?

14     Is that -- let's see.              That's the one that was filed

15     by Mr. Lopez and it's document 88.              So that's that

16     motion.

17                          MR. LOPEZ:   Yes, Your Honor.

18                          THE COURT:   So let's look at it.     The

19     order there says, "The Court finds that counsel for

20     Defendant be granted an extension of time in which

21     to file pretrial motions."

22                          Should I cross that out?   Because we're

23     not extending the deadline for pretrial motions.                       If

24 l he decides to file motions, you can discuss it with

25     the Government.             Sounds like the Government doesn't

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 1     have a problem with that.                    But at least leave those

 2     deadlines intact?

 3                          MR. LOPEZ:      Judge, yes.     I don't have a

 4     problem striking out the reference to pretrial

 5     motions, because it's going to be handled in the

 6     other order.

 7                          THE COURT:      Okay.

 8                          MR. LOPEZ:      I just wanted to get off the

 9     January 2nd trial date.

10                          THE COURT:      Okay.    Extension of scheduling

11     order number 4 deadlines.                    I'll take that out, too.

12     So I guess what I'll do is grant an extension of

13     time -- how about if I just say that counsel for

14     Defendant be granted a continuance?

15                          MR. LOPEZ:      I appreciate that point.

16                          THE COURT:      Continuance of the trial of

17     January 2nd, 2018, to the Court's June 2018 trial

18     calendar.                 You still want it to be that?

19                          MR. LOPEZ:      I'm sorry?

20                          THE COURT:      The rest of it is, you had

21     asked that we extend it to the June 2018 trial

22     calendar.                 You still want that?

23                          MR. LOPEZ:      I guess everything is

24 l dependent upon how quickly I get discovery from the

25     Government, but more importantly, how I can, for

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 1     lack of a better term, nail down Mr. Streett's

 2     position.                 Because if his position is no negotiated

 3     resolution, then I believe we should be ready by

 4     June.         I would hope for six months.

 5                          THE COURT:      Let me ask you, Mr. Streett.

 6     What would you want me to put here?                  And it can be

 7     changed, if down the road we decide to go different

 8     directions.                 What do you want me to put as the trial

 9     date here?                 Are you comfortable with June, or would

10     you want something else?

11                          THE DEFENDANT:      Since this is the first

12     time I have actually met with my new attorney, we

13     haven't had a chance to talk about any of his

14     schedule, the constraints he may have to go over

15     discovery.                 I'm sure he has other cases, so I really

16     don't know what an appropriate time would be, Your

17     Honor.

18                          THE COURT:      Okay.   Well, what if I did

19     this?         Would this work for folks?           What if I just

20     extend this trial for a couple of weeks?                  Say

21     June -- let's see.                 1st, 8th, 15th -- put January

22     15th there.                 That will give you some time to talk.

23     And then we can set a more realistic date.                  What do

24 l you think about that?

25                          MR. LOPEZ:      My caveat, once again with

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 1     Mr. Streett was that we're going to be talking about

 2     his case without me having adequate time to

 3     evaluate --

 4                          THE COURT:     What date would you propose

 5     then, to give you some time, a little bit of

 6     breathing room here?

 7                          MS. MEASE:     I can get the material that's

 8     been further redacted -- I'll talk with my

 9     assistant, but I think that can go out by next week,

10     end of next week.             So however long you would want

11     with it at that point.

12                          MR. LOPEZ:     March 1?

13                          THE COURT:     Can you live with that,

14     Mr. Streett?

15                          THE DEFENDANT:     I believe so, Your Honor.

16                          THE COURT:     Okay, let's put March 1.     Does

17     that work for you, Ms. Mease, if we put that date?

18                          MS. MEASE:     Yes, Your Honor.

19                          THE COURT:     And if we need to revisit it,

20     we can.            Let me see what March 1 is, make sure it's

21     a weekday.

22                          MS. MEASE:     It's a Thursday.

23                          MS. BEHNING:     It's a Thursday, Judge.

24 l                        THE COURT:     So we'll put March 1.     So I'm

25     going to sign this order.                This will take the

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 1     January 2nd date off.

 2                          So now let's go back to the United States'

 3     motion.            "The parties shall submit a motion to

 4     continue the trial date, but no later than December

 5     29."

 6                          So we've now done that.     "The parties

 7     shall submit any new proposed scheduling orders as

 8     soon as possible, but no later than January 5,

 9     2018."

10                          I propose to take that sentence out.

11                          MS. MEASE:     That's fine, Your Honor.

12                          THE COURT:     Is that all right with you,

13     Mr. Lopez, Mr. Streett?

14                          MR. LOPEZ:     Yes, Your Honor.

15                          THE COURT:     So we'll take that -- is that

16     all right with you, Mr. Streett?

17                          THE DEFENDANT:     I'm sorry, my counsel and

18     I were discussing --

19                          THE COURT:     The last sentence of this

20     order I'm about to enter on the staying of the

21     deadlines.                So we're going to stay this one for the

22     responses.                It says, "The parties shall submit any

23     new proposed scheduling orders as soon as possible

24 l but no later than January 5, 2018."                  I'm just going

25     to take that out.

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 1                          THE DEFENDANT:   Okay.

 2                          THE COURT:   Is that all right with you?

 3                          THE DEFENDANT:   Yes, sir.

 4                          THE COURT:   All right.   I'll take out.

 5     Now I'm going to sign that order.

 6                          So what we've accomplished are two things.

 7     One, I got an order that's vacating the trial,

 8     doesn't do anything else.              And then this other one

 9     is staying the Government's responses, the December

10     15th deadline, and nothing else.               So it doesn't do

11     anything else.

12                          And so where we are is that I'll wait and

13     hear from Mr. Lopez and Mr. Streett, and if they

14     decide that they don't want to stay any more of the

15     Government's deadline to file responses, they just

16     need to tell me, and I'll work with the Government

17     to get a deadline for that, and then I'll set a

18     hearing on the two motions.

19                          What do you want to do on the rest of

20     these motions?             Just want to leave them for another

21     day, and file those, hear those another day?               I'll

22     tell you what I got here.              I'm interpreting some of

23     Mr. Streett's filings as maybe requesting some

24 l things.              The United States has a motion to strike

25     some of those pro se filings.

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 1                          I guess what I would propose to do on

 2     those is to deny without prejudice all of the

 3     Defendant's pro se filings, so we start with a clean

 4     slate.          So I deny any sort of request in

 5     Mr. Streett's letters or his omnibus motion to

 6     suppress, and those sort of things, deny all those

 7     without prejudice, so that if he needs to renew

 8     those down the road, he can with counsel.              I just

 9     leave these two motions that Mr. Cooper filed, and

10     then set those as soon as you all tell me you want

11     them heard.

12                          Mr. Lopez, you and Mr. Streett, could you

13     live with that?             That I deny them without prejudice

14     and then if he needs to renew them, he can?

15                          MR. LOPEZ:   I don't have an objection to

16     that, Your Honor.             That will give me an opportunity

17     to meet with Mr. Streett and go through those pro se

18     motions.             But I'll be honest with you, my initial

19     concern is, I want to find out from him whether, in

20     fact, he wants to try to negotiate a settlement in

21     this case or whether he wants to proceed with the

22     legal filings.             If, in fact, he wants to proceed

23     with the legal filings, then we will notify the

24 l Court by notice that he wishes to reinstate his

25     motions, his pro se motions.

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 1                          THE COURT:   Could you live with that,

 2     Mr. Streett, that I just deny your pro se motions,

 3     the things you have sent to the Court and stuff,

 4     deny those without prejudice, and then if you and

 5     Mr. Lopez want to reraise them, you're free to do

 6     that?         It's without any prejudice.

 7                          THE DEFENDANT:   I believe so, Your Honor.

 8                          THE COURT:   All right.

 9                          Can you live with that, Ms. Mease?

10                          MS. MEASE:   Yes Your Honor.

11                          THE COURT:   So I'll deny all the --

12     anything that he's done pro se without prejudice,

13     and then you all talk, and if you need to renew

14     them, you can.             I won't strike them from the record.

15     I won't grant that portion of the motion.                I'll just

16     grant it in part and deny it in part, because I'm

17     not striking it; I'm just going to leave it part of

18     the record.

19                          And then the only other thing I guess that

20     we have is, I have signed Mr. Cooper's motion to

21     withdraw, so we're done there.

22                          And then your motion to withdraw,

23     Mr. Lopez, are you comfortable with, for the present

24 l time, withdrawing that motion?

25                          MR. LOPEZ:   I will withdraw the motion

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 1     pending further discussion with Mr. Streett.

 2                          THE COURT:    All right.   Are you

 3     comfortable with that, Mr. Streett?

 4                          THE DEFENDANT:    Yes, sir, Your Honor.

 5                          THE COURT:    Are you okay with that,

 6     Ms. Mease?

 7                          MS. MEASE:    Yes, Your Honor.

 8                          THE COURT:    You don't need to file another

 9     motion.            Just file a notice withdrawing that.        And

10     then if you need to come back to the Court, it's

11     also without prejudice, if you need to renew that in

12     some way.

13                          MR. LOPEZ:    There was a motion here and I

14     understand where it came from, but from an associate

15     that --

16                          THE COURT:    Yes, yes.

17                          MR. LOPEZ:    So I presume that he is going

18     to request with that --

19                          THE COURT:    Let's see.   That is the --

20                          MR. COOPER:    Document 86.

21                          THE COURT:    Okay.   Yes, that was the one

22     that I thought was yours, Mr. Cooper.

23                          So let me ask Mr. Lopez and Mr. Streett,

24 l do you have any objection to me granting the motion

25     for Alexandra Jones to withdraw?

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 1                          THE DEFENDANT:     No problem, Your Honor.

 2                          MR. LOPEZ:     No, Your Honor.

 3                          THE COURT:     So I will grant that motion.

 4                          MR. COOPER:     Thank you, Your Honor.

 5                          THE COURT:     And remind me who Mr. Osborn

 6     was.

 7                          MR. COOPER:     Mr. Osborn was an associate

 8     of mine.             He worked for me for a while and then

 9     decided he wanted to go to work for the Government,

10     went to the DA's office in Santa Fe.

11                          THE COURT:     Is he out of the case?

12                          MR. COOPER:     He is.

13                          THE COURT:     Because I thought he was still

14     showing up.

15                          MS. BEHNING:     He's technically still in

16     because Alexandra Jones took his place.

17                          (A discussion was held off the record.)

18                          MR. COOPER:     Shall I submit an order

19     withdrawing him and --

20                          THE COURT:     Well, I have already signed

21     the one on Alexandra Jones, so you don't need to

22     redo that.                But you might want to clean up the

23     docket and get Mr. Osborn out.

24 l                        Would there be any objection to that?

25                          MR. LOPEZ:     No objection.

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 1                          THE COURT:    Mr. Streett, any objection?

 2                          THE DEFENDANT:    No, sir.

 3                          THE COURT:    So just submit it, note that

 4     there's no objection, and I'll sign that.

 5                          MR. COOPER:    Great.   Thank you, Your

 6     Honor.

 7                          THE COURT:    So let's look and see if I got

 8     anything else.             So it looks to me like the only

 9     motion I now have pending before me is going to be

10     the two motions that Mr. Cooper has filed on behalf

11     of Mr. Streett, and we'll set those up, then, as

12     soon as possible, or as soon as Mr. Streett and

13     Mr. Lopez indicate.

14                          All right, is there anything else we need

15     to discuss while we're together?                  Anything else we

16     can do for you, Ms. Mease?

17                          MS. MEASE:    Not from the Government, no,

18     thank you.

19                          THE COURT:    Mr. Lopez, anything else?

20                          MR. LOPEZ:    Thank you very much for your

21     time, Your Honor.

22                          THE COURT:    All right.

23                          THE DEFENDANT:    Your Honor, I just wanted

24 l to say on the record that I'm very disappointed with

25     the Court that you will grant the Government extra

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 1     time when they knew they had a deadline that they

 2     missed.            And I understand from my attorney that

 3     that's within your discretion, but I thought

 4     deadlines were for a reason and if the Government

 5     missed them, then they didn't get do-overs and

 6     kicking the can down the road any further.                I guess

 7     I'm told that that's an appeal issue that will have

 8     to be handled at appeal if that's where that has to

 9     go.

10                          THE COURT:   Yes, that's true.    And again,

11     let me say that because of the seriousness of the

12     motions that you filed through Mr. Cooper or

13     Mr. Cooper has filed on your behalf, I need all the

14     help I can get.             I mean, I don't want to strike down

15     a congressional statute and not have the input of

16     the Government.             That I think would not be good.

17     And the same way with suppressing evidence.                So I'm

18     going to need all the input I can get.                These are

19     going to be motions that I need to give some thought

20     to.       So that's the reason I'm doing it.

21                          And also, I have heard before -- again, I

22     don't want to get involved in any settlement

23     negotiations -- but the Government's position, I

24 l have heard it before, that if they have to start

25     writing and working the case, they're going to take

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 1     any sort of settlement discussions off the table.

 2     And I don't know where settlement negotiations were,

 3     and I'm not sure I really need to know, but I can

 4     understand that there were some discussions, and

 5     that's the reason that the Government didn't pursue

 6     the deadline.

 7                          But in any case, those are the reasons why

 8     I think that it's wise for me to just leave things

 9     where we have it.             Your objection is noted, and if

10     you need to appeal at some point, that's certainly

11     an issue that you can take up with the Tenth

12     Circuit.

13                          THE DEFENDANT:   I understand that, and

14     with all due respect, Your Honor, I have read a few

15     circuit decisions and some Supreme Court decisions

16     where the Court was faced with multiple motions in

17     front of them; and considering one, in ruling on

18     one, say, document 78, which is a suppression

19     motion, if that occurred and the counts were

20     dismissed based on the lack of evidence, the other

21     motion, motion 77, could be left as unnecessary for

22     the Court -- the constitutional issue could be left

23     as unnecessary for the Court to decide at this time.

24 l                        THE COURT:   No, that's right.   Appellate

25     courts particularly try to avoid constitutional

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 1     issues.            Sometimes trial courts have a little bit

 2     more difficulty doing that, because we're trying to

 3     get things ready for trial.               So in some ways,

 4     sometimes I have to give advisory opinions, and I'm

 5     required to, to make sure that, you know, you know

 6     what the evidence is going to be before trial.                    Some

 7     of those are in the nature of an advisory opinion as

 8     to what you'll see at trial.

 9                          But you're right.    The appellate courts

10     certainly try to avoid deciding constitutional

11     issues, and things can be set up to do that.

12                          THE DEFENDANT:    And I can understand Your

13     Honor's position on not wanting to decide such a

14     large item.               I do understand that.

15                          And as to your comments about the

16     negotiating deadline, I was made aware by Mr. Cooper

17     that the Government deadline which we were working

18     with, I believe, was the 17th of November, had

19     firmly passed and we had made the decision to go on

20     to trial based on the fact that the Government would

21     not discuss any further plea offers.                  And I was

22     concerned with the Government's filing in their

23     request to stay deadlines that they cited the need

24 l for hearing or discussing a current plea offer when

25     there was no current plea offer.                  I believe the

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 1     Government was disingenuous when they said that,

 2     because there was no current plea offer that I had

 3     been made aware of through any counsel of record or

 4     directly by the Government.               So I don't think that

 5     was fair for the Government to make that assertion

 6     that there was a current plea offer and that being a

 7     reason to give more time when there was not a

 8     current plea offer.

 9                          THE COURT:   Okay.

10                          MS. MEASE:   Your Honor, I was simply

11     trying to extend a courtesy to Mr. Streett to let

12     him discuss the offer with his new lawyer.               That's

13     all.        And I am not sure that's registering right

14     now, but hopefully Mr. Lopez can speak with him

15     about that.

16                          THE COURT:   All right.   Well, we'll kind

17     of move forward here.              This is a clean slate.    So

18     maybe we can move forward.

19                          Anything else, Mr. Streett?

20                          THE DEFENDANT:   I don't believe so at this

21     time, Your Honor, unless you could be compelled with

22     one more plea to rule on those motions sooner than

23     later and not grant the Government the deadline.                    I

24 l understand if you want to entertain input from them,

25     but I would have thought that legally and

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 1     statutorily, by them missing a deadline, that those

 2     could be the equivalent of a summary judgment and be

 3     granted without the Court having to be obligated to

 4     take response from the Government.

 5                          THE COURT:      Well, I'm just going to be

 6     very cautious on this.                 I'm not going to declare an

 7     act of Congress unconstitutional without input from

 8     the Government.                 And the same way with suppressing

 9     evidence.                 So I'm just going to be more cautious in

10     that.         I understand your position.

11                          THE DEFENDANT:      Yes, Your Honor, and

12     that's actually the more -- suppression of evidence

13     on document 78 was more the concern to me than 77,

14     is that would be moot after 78 would be considered.

15                          THE COURT:      Okay.   Well, maybe we can

16     educate me a little bit more and maybe I can take

17     them up in the order that you want.                  They're your

18     motion, so I'll probably let you argue them in the

19     way that you want to.                 Anything else, Mr. Streett?

20                          THE DEFENDANT:      No, Your Honor.

21                          THE COURT:      Thank you, Mr. Cooper.     I

22     appreciate you coming over and helping me clear some

23     things up.

24 l                        MR. COOPER:      No, Your Honor, thank you.

25                          THE COURT:      You all have a happy new year.

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 1     I appreciate everybody making themselves available,

 2     and I'll get these orders entered and wait to hear

 3     from Mr. Lopez and Mr. Streett.                   You all have a good

 4     weekend.

 5                          MR. LOPEZ:      Thank you.

 6                               (Court adjourned at 10:54 a.m.)

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